            Case 2:19-cv-06000-TR Document 18 Filed 10/20/20 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CLARISSA EDELHEIT,                         :
     Plaintiff,                            :       CIVIL ACTION
                                           :
       v.                                  :
                                           :
ANDREW SAUL,                               :        No. 19-6000
Commissioner of the                        :
Social Security Administration,            :
       Defendant.                          :

                                  ORDER AND JUDGMENT

       AND NOW, on October 20, 2020, upon consideration of Plaintiff Clarissa Edelheit’s

Brief in Support of her Request for Review (doc. 13), the Commissioner’s Response (doc. 14),

and Edelheit’s Reply (doc. 14), it is ORDERED:

   1. Plaintiff’s Request for Review is DENIED;

   2. JUDGMENT is entered in favor of the Commissioner and against Plaintiff; and

   3. The Clerk of Court is DIRECTED to mark this case CLOSED.


                                                    BY THE COURT:


                                                    _/s/ Timothy R. Rice_______
                                                    TIMOTHY R. RICE
                                                    U.S. MAGISTRATE JUDGE
